OKLAHOMA EMPLOYMENT SECURITY COMMISSION — CENTRAL PURCHASING ACT **** THE OKLAHOMA EMPLOYMENT SECURITY COMMISSION IS NOT REQUIRED TO UTILIZE THE PROVISIONS OF THE OKLAHOMA CENTRAL PURCHASING ACT IN PAYING THE PREMIUMS AUTHORIZED PURSUANT TO 74 O.S. 1971 1314.1 [74-1314.1] ON AN EXISTING HOSPITALIZATION AND MEDICAL INSURANCE CONTRACT BETWEEN THE EMPLOYEES OF THE COMMISSION AND THE INSURANCE COMPANY. IN AMENDING EXISTING GROUP LIFE AND DISABILITY CONTRACTS OF INSURANCE BETWEEN THE COMMISSION AND CERTAIN INSURANCE COMPANIES TO PROVIDE FOR EXPANDED COVERAGE AND BENEFITS FOR COMMISSION EMPLOYEES, SAID COMMISSION IS NOT REQUIRED TO UTILIZE THE PROVISIONS OF THE OKLAHOMA CENTRAL PURCHASING ACT.